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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-09-256
                                                 §
                                                 §
JOSE PEDRO PEREZ-RIVERA, et al.                  §


                                          ORDER

       Defendant Arevalo-Romero filed an unopposed motion for continuance, (Docket

Entry No. 31). The co-defendants are unopposed. The court finds that the interests of justice

are served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The motion for continuance is GRANTED. The

docket control order is amended as follows:

       Motions are to be filed by:                        July 31, 2009
       Responses are to be filed by:                      August 14, 2009
       Pretrial conference is reset to:                   August 24, 2009, at 8:45 a.m.
       Jury trial and selection are reset to:             August 31, 2009, at 9:00 a.m.


              SIGNED on June 16, 2009, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
